Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 1 of 8

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CASREF,ECF
U.S. District Court
Southern District of New York (Foley Square)
CIVIL DOCKET FOR CASE #: 1:23-cv-11053-GHW-JW
Trisura Insurance Company v. Bighorn Construction and Date Filed: 12/20/2023
Reclamation, LLC et al Jury Demand: None
Assigned to: Judge Gregory H. Woods Nature of Suit: 110 Insurance
Referred to: Magistrate Judge Jennifer E. Willis Jurisdiction: Diversity
Demand: $75,000
Cause: 28:1332 Diversity Action
Plaintiff
Trisura Insurance Company represented by Dennis O'Neil Cowling
McElroy, Deutsch, Mulvaney & Carpenter,
LLP (NY)
225 Liberty Street
New York, NY 10281
212 483 9490
Fax: 212 483 9129
Email: dcowling@mdmc-law.com
ATTORNEY TO BE NOTICED
V.
Defendant
Bighorn Construction and Reclamation,
LLC
Defendant
Bighorn Investments and Properties,
LLC
Defendant

Bighorn Sand & Gravel LLC

Defendant
Bridgelink Commodities LLC

Defendant
Bridgelink Engineering LLC

Defendant
Bridgelink Investments, LLC

Defendant

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Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 2 of 8

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Bridgelink Renewable Energy

Development LLC

Defendant

Bridgelink Renewable Energy
Investments LLC

Defendant

Intermoutain Electric Service, Inc.

Defendant

Cole Wayne Johnson

Defendant

Cord Henry Johnson

Defendant

Cassie Hamilton

12/20/2023

12/20/2023

Date Filed # | Docket Text

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FILING ERROR - DEFICIENT PLEADING - SIGNATURE ERROR - COMPLAINT
against Bighorn Construction and Reclamation, LLC, Bighorn Investments and Properties,
LLC, Bighorn Sand & Gravel LLC, Bridgelink Commodities LLC, Bridgelink Engineering
LLC, Bridgelink Investments, LLC, Bridgelink Renewable Energy Development LLC,
Bridgelink Renewable Energy Investments LLC, Cassie Hamilton, Intermoutain Electric
Service, Inc., Cole Wayne Johnson, Cord Henry Johnson. (Filing Fee $ 405.00, Receipt
Number ANY SDC-28723009)Document filed by Trisura Insurance Company.
(Attachments: # 1 Exhibit Exhibit A: Indemnity Agreement in favor of Plaintiff, # 2
Exhibit Exhibit B-1; Bonds, Performance and Payment, TIC01702, # 3 Exhibit Exhibit B-
2: Rider No. 1 to Bonds TIC01702, # 4 Exhibit Exhibit C: Collateral Demand Letter to
Defendants).(Cowling, Dennis) Modified on 12/22/2023 (vf). (Entered: 12/20/2023)

REQUEST FOR ISSUANCE OF SUMMONS as to Bighorn Construction and
Reclamation, LLC; Bighorn Investments and Properties, LLC; Bighorn Sand & Gravel
LLC; Bridgelink Commodities LLC; Bridgelink Engineering LLC; Bridgelink
Investments, LLC; Bridgelink Renewable Energy Development LLC; Bridgelink
Renewable Energy Investments LLC; Intermoutain Electric Service, Inc.; Cole Wayne
Johnson; Cord Henry Johnson; Cassie Hamilton,, re: 1 Complaint,,,. Document filed by
Trisura Insurance Company..(Cowling, Dennis) (Entered: 12/20/2023)

12/22/2023

***NOTICE TO ATTORNEY TO ELECTRONICALLY FILE CIVIL COVER
SHEET. Notice to Attorney Dennis O'Neil Cowling. Attorney must electronically file
| the Civil Cover Sheet. Use the event type Civil Cover Sheet found under the event list
| Other Documents. (vf) (Entered: 12/22/2023)

12/22/2023

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***NOTICE TO ATTORNEY REGARDING DEFICIENT PLEADING. Notice to
Attorney Dennis O'Neil Cowling to RE-FILE Document No. 1 Complaint. The filing
| is deficient for the following reason(s): the pleading was not signed. Re-file the
pleading using the event type Complaint found under the event list Complaints and
Other Initiating Documents - attach the correct signed PDF - select the individually
named filer/filers - select the individually named party/parties the pleading is against. |
(vf) (Entered: 12/22/2023) |

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Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 3 of 8

SDNY CM/ECF NextGen Version 1.7

12/22/2023

CASE OPENING INITIAL ASSIGNMENT NOTICE: The above-entitled action is
assigned to Judge Gregory H. Woods. Please download and review the Individual Practices
of the assigned District Judge, located at https://nysd.uscourts. gov/judges/district-judges.
Attorneys are responsible for providing courtesy copies to judges where their Individual
Practices require such. Please download and review the ECF Rules and Instructions,
located at https://nysd.uscourts.gov/rules/ecf-related-instructions..(vfy (Entered:
12/22/2023)

12/22/2023

Magistrate Judge Jennifer Willis is designated to handle matters that may be referred in this
case. Pursuant to 28 U.S.C. Section 636(c) and Fed. R. Civ. P. 73(b)(1) parties are notified
that they may consent to proceed before a United States Magistrate Judge. Parties who
wish to consent may access the necessary form at the following link:

https://nysd.uscourts, gov/sites/default/files/2018-06/AO-3 pdf. (vf) (Entered: 12/22/2023)

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Case Designated ECF. (vf) (Entered: 12/22/2023)

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ELECTRONIC SUMMONS ISSUED as to Bighorn Construction and Reclamation, LLC,
Bighorn Investments and Properties, LLC, Bighorn Sand & Gravel LLC, Bridgelink
Commodities LLC, Bridgelink Engineering LLC, Bridgelink Investments, LLC,
Bridgelink Renewable Energy Development LLC, Bridgelink Renewable Energy
Investments LLC, Cassie Hamilton, Intermoutain Electric Service, Inc., Cole Wayne
Johnson, Cord Henry Johnson. (vf) (Entered: 12/22/2023)

12/22/2023

CIVIL COVER SHEET filed..(Cowling, Dennis) (Entered: 12/22/2023)

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COMPLAINT against Bighorn Construction and Reclamation, LLC, Bighorn Investments
and Properties, LLC, Bighorn Sand & Gravel LLC, Bridgelink Commodities LLC,
Bridgelink Engineering LLC, Bridgelink Investments, LLC, Bridgelink Renewable Energy
Development LLC, Bridgelink Renewable Energy Investments LLC, Cassie Hamilton,
Intermoutain Electric Service, Inc., Cole Wayne Johnson, Cord Henry Johnson. Document
filed by Trisura Insurance Company. (Attachments: # 1 Exhibit A: Indemnity Agreement in
favor of Plaintiff, # 2 Exhibit B-1: Bonds, Performance and Payment, TIC01702, # 3
Exhibit B-2: Rider No. 1 to Bonds TIC01702, # 4 Exhibit Exhibit C: Collateral Demand
Letter to Defendants).(Cowling, Dennis) (Entered: 12/22/2023)

FILING ERROR - DEFICIENT DOCKET ENTRY - MISSING - DIVERSITY
INFORMATION - RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying
Corporate Parent Trisura U.S. Holding Company, Corporate Parent Trisura Group Ltd. for
Trisura Insurance Company. Document filed by Trisura Insurance Company..(Cowling,
Dennis) Modified on 12/26/2023 (kw). (Entered: 12/23/2023)

12/26/2023

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ORDER REFERRING CASE TO MAGISTRATE JUDGE. Order that case be referred to
the Clerk of Court for assignment to a Magistrate Judge for General Pretrial (includes
scheduling, discovery, non-dispositive pretrial motions, and settlement) and Dispositive
Motion (i.c., motion requiring a Report and Recommendation). All such motions. Referred
to Magistrate Judge Jennifer E. Willis. SO ORDERED. (Signed by Judge Gregory H.
Woods on 12/26/2023) (jca) (Entered: 12/26/2023)

12/26/2023

***NOTICE TO ATTORNEY REGARDING DEFICIENT RULE 7.1 CORPORATE
DISCLOSURE STATEMENT. Notice to Attorney Dennis O'Neil Cowling to RE-FILE
Document No. 6 Rule 7.1 Corporate Disclosure Statement,. The filing is deficient for
the following reason(s): the jurisdiction of this action is based on diversity - the
party/intervenor did not name and identify the citizenship of every individual or
entity whose citizenship is attributed to that party or intervenor. Re-file the document
using the event type Rule 7.1 Corporate Disclosure Statement found under the event
list Other Documents - select the correct filer/filers - attach the correct signed PDF -
when prompted with the message "Are there any corporate parents or other

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Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 4 of 8

SDNY CM/ECF NextGen Version 1.7

affiliates?", select the Yes or No radio button - If Yes - enter the corporate
parent/other affiliate, click the Search button - select the correct corporate
parent/other affiliate name from the search results list or if no person found, create a
new corporate parent/other affiliate - select the party to whom the corporate
parent/other affiliate should be linked - add corporate parent/other affiliate names
one at a time - name and identify the citizenship of every individual or entity whose
citizenship is attributed to that party or intervenor. (kw) (Entered: 12/26/2023)

12/28/2023

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RULE 7.1 CORPORATE DISCLOSURE STATEMENT. Identifying Corporate Parent
Trisura Group Ltd., Corporate Parent Trisura (US) Holding Company for Trisura Insurance
Company. Document filed by Trisura Insurance Company..(Cowling, Dennis) (Entered:
12/28/2023)

01/10/2024

01/10/2024

02/22/2024

02/22/2024

No

AMENDED COMPLAINT amending 5 Complaint,, against Bighorn Construction and

Reclamation, LLC, Bighorn Investments and Properties, LLC, Bighorn Sand & Gravel
LLC, Bridgelink Commodities LLC, Bridgelink Engineering LLC, Bridgelink
Investments, LLC, Bridgelink Renewable Energy Development LLC, Bridgelink
Renewable Energy Investments LLC, Cassie Hamilton, Intermoutain Electric Service, Inc.,

Cole Wayne Johnson, Cord Henry Johnson.Document filed by Trisura Insurance Company. |

Related document: 5 Complaint,,. (Attachments: # 1 Exhibit A: Indemnity Agreement in
favor of Plaintiff, # 2 Exhibit B-1: Bonds, Performance and Payment, TIC01702, # 3
| Exhibit B-2: Rider No. 1 to Bonds TIC01702, # 4 Exhibit C: Collateral Demand Letter to
Defendants). (Cowling, Dennis) (Entered: O1/ 10/2024) _

AMENDED RULE 7.1 CORPORATE DISCLOSURE STATEMENT, Identifying
Corporate Parent Trisura Group Ltd., Corporate Parent Trisura (US) Holding Company for
Trisura Insurance Company. Document filed by Trisura Insurance Company..(Cowling,
Dennis) (Entered: 01/10/2024)

and Reclamation, LLC served on 1/25/2024, answer due 2/15/2024. Service was accepted
by Cynthia Jackson of URS Agents, LLC, Registered Agent. Document filed by Trisura
Insurance Company. (Cowling, Dennis) (Entered: 02/22/2024)

12 | AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. ‘Bighom Tavestments

and Properties, LLC served on 1/25/2024, answer due 2/15/2024. Service was accepted by
Cynthia Jackson of URS Agents, LLC, Registered Agent. Document filed by Trisura
Insurance Company.. (Cowling, Dennis) (Entered: 02/22/2024)

02/22/2024

Service, Inc. served on 2/6/2024, answer due 2/27/2024. Service was accepted by Isaiah

service of process. Document filed by Trisura Insurance Company..(Cowling, Dennis)
(Entered: 02/22/2024)

02/23/2024

AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Bighorn Sand &
Gravel LLC served on 1/12/2024, answer due 2/2/2024. Service was accepted by Heather
Stewart, Corporate Specialist, URS Agents LLC, Delaware, authorized to accept service on
Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
(Entered: 02/23/2024)

| 02/23/2024

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AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Service was accepted

| by Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on
Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
| Entered: 02/23/2024)

AFFIDAVIT OF SERVICE of Suminoiis and Amended Complaint,,,. Bridgelink
|Commodities LLC served on 1/12/2024, answer due 2/2/2024. Service was accepted by

https://ecf.nysd.uscourts.gov/cgi-bin/DktRpt.pl?685033533838599-L_1_0-1

AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Bighorn Construction

AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Intermoutain Electric

Rose of Corporation Service Company, Assistant of Authorized Registered Agent to accept |

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Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 5 of 8
SDNY CM/ECF NextGen Version 1.7
| Heather Stewart, Corporate Specialist, URS Agents LLC, Delaware, authorized to accept
service on Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling,
Dennis) (Entered: 02/23/2024)

02/23/2024

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AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Service was accepted
by Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on
Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
(Entered: 02/23/2024)

AFFIDAVIT OF SERVICE of Sammons and Amended Complaint,,,. Bridgelink
Engineering LLC served on 1/12/2024, answer due 2/2/2024. Service was accepted by
Heather Stewart, Corporate Specialist, URS Agents LLC, Delaware, authorized to accept
service on Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling,
Dennis) (Entered: 02/23/2024)

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AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Bridgelink
Investments, LLC served on 1/12/2024, answer due 2/2/2024. Service was accepted by
Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on

| Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
(Entered: 02/23/2024)

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AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Bridgelink
Renewable Energy Development LLC served on 1/12/2024, answer due 2/2/2024. Service
was accepted by Heather Stewart, Corporate Specialist, URS Agents LLC, Delaware,
authorized to accept service on Defendant's behalf. Document filed by Trisura Insurance

| | Company. (Cowling, Dennis) (Entered: 02/23/2024)

| AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Service was accepted
| by Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on

| Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)

| | Entered: 02/23/2024)

| 22 | AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Bridgelink
| Renewable Energy Investments LLC served on 1/12/2024, answer due 2/2/2024. Service
was accepted by Heather Stewart, Corporate Specialist, URS Agents LLC, Delaware,
authorized to accept service on Defendant's behalf. Document filed by Trisura Insurance
Company. (Cowling, Dennis) (Entered: 02/23/2024)

23 | AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Service was accepted |
| by Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on
| Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
| (Entered: 02/23/2024) |

24 AFF IDAVIT OF SERVICE of Summons and Amended Complaint,,,. Cord Henry J ohnson
| served on 1/16/2024, answer due 2/6/2024. Service was accepted by Cord Henry Johnson,
| Defendant individual. Document filed by Trisura Insurance Company..(Cowling, Dennis)
| | (Entered: 02/23/2024)

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| 25 | AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Cassie Hamilton
served on 1/16/2024, answer due 2/6/2024. Service was accepted by Cord Henry Johnson,
| Husband of Cassie Hamilton, Defendant being served, a person of suitable age and
| discretion at their actual dwelling house usual place of abode in Texas. Service was made
by also made by an additional mailing to Cassie Hamilton at her actual place of residence
| | as indicated. Document filed by Trisura Insurance Company..(Cowling, Dennis) (Entered:
| | 02/23/2024)

126 | AFFIDAVIT OF SERVICE of Summons. and 1 Amended Complaint,,,. Service was accepted
by Cord Henry Johnson, Husband of Cassie Hamilton, Defendant being served, a person of

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| suitable age and discretion at their actual dwelling house usual place of abode in Texas.

Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 6 of 8

SDNY CM/ECF NextGen Version 1.7

Service was made by also mailing an additional copy of same to Cassie Hamilton at her
actual place of residence as indicated. Document filed by Trisura Insurance Company..
(Cowling, Dennis) (Entered: 02/29/2024)

AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,, Service w: was accepted
by Janice Brown, Agent for URS Agents LLC, Texas, authorized to accept service on
Defendant's behalf. Document filed by Trisura Insurance Company..(Cowling, Dennis)
(Entered: 02/29/2024)

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

02/29/2024

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

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PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Preposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

‘PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

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PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by’ Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

02/29/2024

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura.
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

02/29/2024

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Tri Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

02/29/2024

PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and
processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

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PROPOSED CLERK'S CERTIFICATE OF DEFAULT. Document filed by Trisura
Insurance Company..(Cowling, Dennis) Proposed document to be reviewed and

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Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 7 of 8

SDNY CM/ECF NextGen Version 1.7

processed by Clerk's Office staff (No action required by chambers). Modified on
2/29/2024 (km). (Entered: 02/29/2024)

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38

‘A AFFIRMATION of Dennis O'Neil Cowling in Support re: 35 Proposed Clerk's Certificate
of Default, 30 Proposed Clerk's Certificate of Default, 33 Proposed Clerk's Certificate of
| Default, 36 Proposed Clerk's Certificate of Default, 31 Proposed Clerk's Certificate of

Default, 32 Proposed Clerk's Certificate of Default, 37 Proposed Clerk's Certificate of

Default, 34 Proposed Clerk's Certificate of Default, 29 Proposed Clerk's Certificate of

Default, 28 Proposed Clerk's Certificate of Default. Document filed by Trisura Insurance

| Company.. (Cowling, Dennis) (Entered: 02/29/2024)

| 02/29/2024

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CLERK'S CERTIFICATE OF DEFAULT as to Bighorn Construction and Reclamation,
LLC.(km) (Entered: 02/29/2024) _

CLERK'S CERTIFICATE OF DEFAULT as to Bighorn Investments and Properties, LLC.
(km) (Entered: 02/29/2024)

02/29/2024

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CLERK'S CERTIFICATE OF DEFAULT as to Bighorn Sand & Gravel, LLC.(km)
(Entered: 02/29/2024)

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02/ 29/2024
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CLERK'S CERTIFICATE OF DEFAULT as to Bridgelink Commodities LLC.({km)
(Entered: 02/29/2024)

43

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CLERK'S CERTIFICATE OF DEFAULT as to Bridgelink Engineering LLC.(km)
(Entered: 02/29/2024)

CLERK'S CERTIFICATE OF DEFAULT as to Bridgelink Investments, LLC.(km)
(Entered: 02/29/2024)

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CLERK'S CERTIFICATE OF DEFAULT as to Bridgelink Renewable Energy
Development LLC.(km) (Entered: - 02/29/2024)

CLERK'S CERTIFICATE OF DEFAULT as to Bridgelink Renewable Energy Investments |
LLC.(km) (Entered: 02/29/2024)

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CLERK'S CERTIFICATE OF DEFAULT as to Cassie Hamilton.(km) (Entered:
02/29/2024)

CLERK'S CERTIFICATE OF DEFAULT as s to Cord Henry Johnson.(km) (Entered:
02/29/2024)

03/09/2024

AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Intermoutain Electric
Service, Inc. served on 2/28/2024, answer due 3/20/2024. Service was accepted by A.
Manzanitas, Receptionist, Front Desk of Corporation Service Company, authorized
Registered Agent authorized to accept service of process on Intermountain Electric
Service, Inc. Service was made by Federal Express personal delivery to A. Manzanitas of
Corporation Service Company. Document filed by Trisura Insurance Company.
(Attachments: # 1 Exhibit Exhibit 1: Fed Ex Transaction Record, # 2 Exhibit Exhibit 2:
Cover Letter to CSC, #3 Exhibit Exhibit 2-A: Wyoming Sec. of State Filing Record, # 4
Exhibit Exhibit 2-B: Summons & Amended Complaint served, # 5 Exhibit Exhibit 3: Proof
of Fed Ex delivery, # 6 Exhibit Exhibit 4: Earlier Service on CSC, # 7 Exhibit Exhibit 5:
Earlier CSC Response to Service).(Cowling, Dennis) (Entered: 03/09/2024)

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AFFIDAVIT OF SERVICE of Summons and Amended Complaint,,,. Service was accepted
by Isaiah Ross, Assistant of Authorized Agent for Corporation Service Company,
Wyoming, authorized to accept service on behalf of Defendant Intermountain Electric
Service, Inc.. Document filed by Trisura Insurance Company..(Cowling, Dennis) (Entered:
03/12/2024)

7/8
Case 1:23-cv-11053-GHW-JW Document 52-2 Filed 03/15/24 Page 8 of 8

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Transaction Receipt |
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